DocketCase:
       Entries4:13-cv-02088-TCM
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                  II3SL-AC29467 -ALISHA GLACKIN V FINANCIAL RECOVERY SERVICES (E-CASE)l
         Case       Parties      Docket    Charges Judgments            Service        Filings      Scheduled                    Ciyil   Garmshrnentsi
         Header     Attoine.ys   Entries      & Sentences             Information        Due      Hearings t Trials        Judgments       Execution
                                     This information is provided as a service and is not considered an official court record.

                                                        Sort Date Entries:        ° Descending                       Display Options: All Entries
                                                                                 Ascending

09/19/2013            Summons Issued-Associate
                      Document ID: 13-ADSM-25216, for FINANCIAL RECOVERY SERVICES INC.
                      Summ Req-Assc Pers Serv
                      Request for Appointment of Special Process Server Filed.
                      Hearing Scheduled
                        Scheduled For: 10/31/2013; 9:00 AM ; JUDY PREDDY DRAPER; St Louis County

09/04/2013            Confid Filing Info Sheet Filed
                      Pet Filed in Associate Ct
                      Judge Assigned
                      DIV41H
Case.net Version 5.13.2.3                                           Return to Top of Page                                                 Released 08/12/2013




                                                                                                                                    EXHIBIT A
https ://www. courts.mo gov/casenet/cases/searchDocketsdo                                                                                      10/1 7/2013
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                                                                             ____ _(name)_____                            -




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                          IN          2AST                             cic cou’, s. LOUIS COUNTY, MYssoURY

    Judge or Division:                                                        Case Number: I3SL-AC29467
    JUDY PREDDY DPAPER
    PlaintifflPetitioner:
                                                                              Plaintiff’s/Petitioner’s   Attorney/Address:
                                                                                                                                              SEp 23 E1417J
    ALISHA GLACKIN
                                                                              RICHARD ANTHONY VOYTAS Jr.
                                                                              1 NORTH TAYLOR AVENUE
                                                                              SAINT LOUIS, MO 63108
                                                                        vs.   (314)932-1068
    DefertdantlRespondent:
                                                                              Date, Time and Location of Court Appearance:
    FINANCiAL RECOVERY                     SERViCES INC                       31-OCT-2013, 09:00 AM
   Nature of Suit:                                                            DWISION 41H
   AC Other Tort                                                              ST LOUIS COUNTY COURT BUILDiNG
                                                                              7900 CARONDELET AVE
                                                                              CLAYTON, MO 63105                                                 (Date File Stamot
                                                                  Associate Division Summons
     The State of Missouri to:                  FINANCIAL RECOVERY SERVICES INC
                                            Alias:
                                                                 CT CORPORATION SYSTEM
                                                                 120 SOUTH CENTRAL AVENUE
                                                                 CLAYTON, MO 63105
                                               You are summoned to appear before this court on the date, time, and
           COLIRTSEAL OF                                                                                                Iocaton above to answer the attached petition.
                                          If you fail to do so, judgment by default will be taken against you
                                                                                                               for the relief demanded in the petition. You may be
                                          permitted to file certain responsive pleadings, pursuant to Chapte
                                                                                                              r 517 RSMo, Should you have any questions regarding
                                          responsive pleadings in this case, you should consult an attorney.
                                               If you have a disability requiring special assistance for your court
                                                                                                                    appearance, please contact the court at least 48
                                          hours in advan:; of scheduled hearing.

      sr Louis COUNTY

                                                Further Information:     El
                                                              Sheriff’s or Server’s Return
     Note to serving officer: Service must not be made less than
                                                                 ten days nor more than sixty days from the date the Defend
                              appear in court,                                                                              ant/Respondent is to
          I certify that I have served the above summons by: (check one)
       EJ      delivering a copy of the summons and a copy of the petition to the
                                                                                    Defendant/Respondent.
       El      Jeavig a copy of the summons and a copy of the petition at the dwelling
                                                                                          place or usual abode of the DefendantlResponderit with
                                                                          a person of the Defendant’s/Respondents family over the age of 15
       C       (for service on a corporation) delivering a copy of the summons and copy                                                      years.
                                                                                     a      of the petition to

       Q      other_________________________________________
                                                                              ______________________________
                                                                                                                                                              (title’s.

     Served at
                                                                                                                                                         (address)
     in                                                 (County/City of St. Louis), MO, on                             (date) at                         (time).
                           Printed Name of Sheriff or Server
                                                                                                             Signalure of Sheriff or Server
                                           Must be sworn before a notary public If not served by an authorized
                                                                                                               officer:
                                           Subscribed and sworn to before me on
                 (Se31)                                                                                                       (date).
                                           My commission expires:
                                                                                Datc                                        t’lOtarv Public
    Sheriff’s Feas,       if applicable
    Summons                          S_______________
    Non    Est
                                     $___________
                                                         ___




    Sheriff’s Deputy Salary                 -


    Supplemental Surcharge           $,j_..
    Mileage                 S_______________ (miIcs @ S._______ per mile)
   Total                             $___________




   A copy of the summons and a copy of the petition muSt be served on each Defend
                                                                                  ant/Respondent. For methods of service on all classes of suits,
   secSupremeCvurtRule54.



OSCA (799) SM2O (ADSM) For Court CIsc Only: Document 11)5 13-ADSM-2
                                                                    5216                        I of                                                   517,041 R,SMo
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                                     IN THE CIRCUIT COURT
                                        ST. LOUIS COUNTY
                                       STATE 01? MISSOURI
                                      ASSOCIATE DIVISION

 ALISHA GLACKIN
                                                        )
 P1aintiff                                              )
                                                        ) Cause No.
                                                        )
                                                        ) Division
FINANCIAL RECOVERY SERVICES, INC                        )
                                                        )
Serve At:                                               )
CT Corporation System                                   )
120 South Central Avenue                                )
Clayton, MO 63105                                       )
                                                        )
Defendant.                                              )       JURY TRiAL DEMANDED

                                              PETITION

        COMES NOW, Plaintiff, Alisha Glackin, and for her Petition states as follows:

                                         INTRODUCTION

        1.      This is an action for statutory damages brought by an individual consumer for

violations of the Fair Debt Collections Practices Act, 15 U.S.C.         § 1692 et seq. (“FDCPA”),
which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

        2.      Plaintiff demands a trial by jury on all issues so triable.

                                          JURISDICTION

       3.      This Court has jurisdiction of the FDCPA claim under 15 U.S.C.             § 1692k(d)
because the illicit collection activity was directed at Plaintiff in St. Louis County, Missouri.

                                              PARTIES

       4,      Plaintiff is a natural person currently residing in St. Louis County, Missouri.

Plair.tiff is a “consumer” within the meaning of the FDCPA.
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         5.     The alleged debt Plaintiff owes arises out of consumer, family, and household

 transactions, specifically, a personal credit card.

        6.      Defendant is a foreign corporation with its principal place of business in

 Minneapolis, Minnesota.

        7.      The principal business purpose of Defendant is the collection of debts in Missouri

and nationwide, and Defendant regularly attempts to collect debts alleged to be due another.

        8.      Defendant is engaged in the collection of debts from consumers using the mail

and telephone. Defendant is a “debt collector” as defined by the FDCPA. 15 U.S.C.          § 1692a(6).
                                                FACTS

        9.      Defendant’s collection activity of which Plaintiff complains occurred within the

previous twelve (12) months.

        10.     Defendant’s collection activity consisted of telephone calls and live telephone

conversations with Plaintiff,

        11.     PLaintiff returned one such call from Defendant on August 2, 2013.

        12.     As of the August 2, 2013 call, Defendant had never sent Plaintiff any written

communication regarding her alleged debt.

        13.    Defendant had attempted to send an initial letter to Plaintiff that was dated July 8,

2013 but acknowledged during the call that it did not have Plaintiff’s correct address.

        14.    Even if Plaintiff did receive the initial letter, the August 2 phone call was still well

within Plaintiff’s dispute period as per 15 U.S.C.     § 1692g.
       15.     During the call, Plaintiff told Defendant that she had never received any

collection letters from Defendant regarding the alleged debt.



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          16.        Despite knowing that Plaintiff had never received any written communication

 from Defendant, Defendant made numerous payment demands during the call.

          17.       For example, Defendant stated that the balance on the account was due.

          18.       Additionally, Defendant stated that the balance should be paid within the month

 of August.

         19.        Finally, Defendant stated that Plaintiff could “get this thing out of [her] life

 today” by settling the balance during the call for a discounted amount.

         20.        At no time during the call did Defendant inform Plaintiff of her dispute and

 verification rights under 15 U.S.C.    §   1692g.

         21.        Defendant attempted to collect Plaintiff’s alleged debt numerous times during the

August 2 call, all without ever sending Plaintiff any written communications,

         22.        Because Defendant never sent Plaintiff a letter regarding the alleged debt,

Defendant never made the disclosures that 15 U.S.C.       §   I 692g(a) requires debt collectors to make

in iting within five days of the initial collection communication.

        23.         Because Defendant never sent Plaintiff a letter making the required Section

I 692g(a) discLosures, the thirty-day Limit on Plaintiff’s dispute period described in Section 1 692g

never began to run. Thus, Plaintiff’s dispute and verification rights existed at all times relevant

to this Petition.

        24.     Defendant’s demands for immediate payment in the August 2 call overshadowed

Plaintiff’s dispute and verification rights under Section 1 692g because they were demands for

payment within Plaintiff’s dispute period and were not accompanied by any notice whatsoever to

Plaintiff of her dispute and verification rights.



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          25.      Defendant’s conduct caused Plaintiff to believe that she could not exercise those

rights or that such an exercise would not be honored, and that she had to pay the debt within her

dispute period.

          26.     Plaintiff never entered into any agreement whereby she consented to arbitrate

disputes between herself and Defendant.

          27.     Defendant’s collection attempts have caused Plaintiff to incur actual damages

including but not limited to anxiety, frustration, and worry.

                             COUNT I: VIOLATION OF TIlE FDC?A

         28.      Plaintiff re-alleges and incorporates by reference au of the above paragraphs.

         29.      In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the FDCPA, 15 U.S.C.      § 1692 et seq., including, but not Limited to, the following:
         a.       Overshadowing Plaintiff’s dispute, validation, and verification rights, 15 U.S.C.     §
1692g;

         b.       Engaging in deceptive, harassing, and unfair conduct in the collection of a debt,

15 U.s.c.     § 1692d-f.
         WHEREFORE, Plaintiff respectMly requests that judgment be entered against

Defendant for:

         A.       Judgment that Defendant’s conduct violated the FDCPA;

         B.       Actual damages;

         C.       Release of the alleged debt;

         D.       Statutory damages, costs and reasonable attorney’s fees pursuant to 15 U.S.C.         §
         1692(k); and

         E.      For such other relief as the Court may deem just and proper.

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                                 VOYTAS & COMPANY

                                 Is! Nathan K. Bader
                                                       %
                                 RICHARD A VOYTAS, #52046
                                 NATHAN K. BADER, #64707
                                 Voytas & Company
                                 1 North Taylor Ave.
                                 St. Louis, Missouri 63108
                                 Phone: (314> 932-1068
                                 Fax:    (314) 667-3161




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